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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                       )      Criminal No. 21-30028-MGM
                                               )
v.                                             )
                                               )
BENJAMIN SHACAR                                )

                               ORDER OF EXCLUDABLE DELAY

KATHERINE A. ROBERTSON, UNITED STATES MAGISTRATE JUDGE:

         The Court finds the following time period excludable from the calculation of the time

within which trial in this case must begin pursuant to the Speedy Trial Act:

         All time from January 5, 2022 until the date of the next hearing,

____________________, 2022. The Court finds this period excludable on the ground that the

ends of justice served by granting the continuances outweigh the best interests of the public and

the defendant in a speedy trial, pursuant to 18 U.S.C. '3161(h)(7)(A). This exclusion would

serve the “ends of justice” within the meaning of 18 U.S.C. ' 3161(h)(7)(A) as it would allow

the defense to review discovery, consider dispositive motions, and decide next steps in the

litigation



                                       _________________________________
                                       KATHERINE A. ROBERTSON
                                       UNITED STATES MAGISTRATE JUDGE

Dated:          ______________
